4:09-cr-03117-RGK-CRZ       Doc # 267    Filed: 08/19/15   Page 1 of 1 - Page ID # 1949




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                 4:09CR3117
                                          )
             v.                           )
                                          )
TRAVES RUSH,                              )                 JUDGMENT
                                          )
                    Defendant.            )
                                          )

       IT IS ORDERED that judgment is entered for the United States of America and
against Defendant Rush providing that he shall take nothing and the Motion to Vacate
under 28 U.S.C. § 2255 (Filing no. 251; filing no. 252 (Memorandum of Fact and Law))
is denied with prejudice. The undersigned does not issue a certificate of appealability.

      DATED this 19th day of August, 2015.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
